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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


CRISTOSAL HUMAN RIGHTS,
11 Bulevar Sur, Colonia Utila, Santa Tecla, El
Salvador;

CORPOCAMINOS,
19 Barrio Centro, Municipio de Timbío,                  Case No.: __________
Departamento del Cauca, Colombia;

ACCIÓN CULTURAL POPULAR                                 COMPLAINT
HONDUREÑA,
Barrio San José, 8va calle SE, 6ta y 7ta
avenida, Morazán, Yoro, Honduras;

ASOCIACIÓN LAS PREGONERAS;
Calle Canto Rey, Mz. E Lote, 18 primera
etapa, Río Tambo, San Juan de Lurigancho,
Lima, Peru;

ALTERNATIVAS Y CAPACIDADES,
Málaga 88, Insurgentes Mixcoac, Benito
Juárez, 03920 México City, México;

FUNDACIÓN RENACE,
Av.20 de octubre 1915, La Paz, Bolivia;

SOCIEDAD COOPERATIVA DE LAS
MUJERES RURALES DE LA FRONTERA
SUR,
Carretera Tenosique a La Palma Km 27, ejido
San Isidro Guasiván, Tenosique, Tabasco,
México;

FUNDACIÓN ESCUELA DE
INTEGRACIÓN, FORMACIÓN
DEPORTIVA, EXPRESIÓN ARTÍSTICA
Y DESARROLLO LABORAL,
Urbanización San Pedro Magisterio. Km 3,
carretera a Sacaba, Calle Concordia s/n
esquina Nicaragua, Sacaba, Bolivia;

ASOCIACIÓN INSTITUTO
SALVADOREÑO DE EDUCACIÓN
COOPERATIVA Y AGRICULTURA
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ORGÁNICA, Calle y Colonia La Mascota
No. 156, San Salvador, El Salvador,

                Plaintiffs,

        v.

PETER MAROCCO, in his official capacity
as Acting Deputy Administrator for Policy
and Planning and for Management and
Resources for USAID and Director of
Foreign Assistance at the Department of
State, and in his purported official capacity as
Chairman of the Board of the Inter-American
Foundation,
1300 Pennsylvania Avenue NW
Washington, DC 20004;

DOMINIC BUMBACA, in his purported
official capacity as the President of the Inter-
American Foundation,
1331 Pennsylvania Ave. NW, Suite 1200
Washington, D.C. 20004;

SERGIO GOR, in his official capacity as
Director of the White House Presidential
Personnel Office,
1600 Pennsylvania Avenue NW
Washington, DC 20500;

U.S. DOGE SERVICE,
736 Jackson Place, NW
Washington, DC 20503;

U.S. DOGE SERVICE TEMPORARY
ORGANIZATION,
736 Jackson Place, NW
Washington, DC 20503;

AMY GLEASON, in her official capacity as
Acting Administrator of U.S. DOGE Service,
1600 Pennsylvania Avenue NW
Washington, DC 20500;
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 DONALD J. TRUMP, in his official capacity
 as President of the United States,
 1600 Pennsylvania Avenue, NW
 Washington DC 20500;

 U.S. DEPARTMENT OF THE
 TREASURY,
 1500 Pennsylvania Avenue, NW
 Washington DC 20220;

 and SCOTT BESSENT, in his official
 capacity as Secretary of the Treasury,
 1500 Pennsylvania Avenue, NW
 Washington DC 20220,

                Defendants.


       1.      This lawsuit challenges a series of unlawful and unconstitutional actions taken to

eviscerate an entire independent agency, the Inter-American Foundation, despite Congress’s clear

direction that “[t]he Foundation … shall have perpetual succession unless sooner dissolved by an Act

of Congress,” 22 U.S.C. § 290f(e)(1), and in disregard of Congress’s choice to appropriate funding “to

carry out the functions of” the Foundation “until September 30, 2025,” Further Consolidated

Appropriations Act, 2024, Pub. L. No. 118-47, Div. F, tit. III, 138 Stat. 460, 746 (2024); Full-Year

Continuing Appropriations and Extensions Act, 2025, Pub. L. No. 119-4, § 1101(a)(11) (2025).

       2.      The Foundation is a nimble and transformative federal agency that since 1969 has

focused on community-driven development across Latin America and the Caribbean. Unlike other

foreign-aid agencies, which largely rely on government-to-government funding mechanisms or

international contractors, the Foundation pioneered a different model: community-led development

through engagement with local leaders, civil society organizations, and entrepreneurs working to make

their own communities more prosperous, peaceful, and democratic. The Foundation has invested in

nearly 6,000 community development projects in 35 countries, focused on addressing the root causes

of migration by promoting economic stability, reducing violence, and strengthening democratic

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governance. These projects work to build peaceful and safe communities, expand economic

opportunities through job creation and entrepreneurship, strengthen civic engagement, and enhance

social and economic inclusion. The Foundation also works to support food security and other

initiatives that promote long-term stability. By empowering local communities to solve their own

problems, the Foundation’s work has been one of the United States’ most effective and powerful tools

to strengthen and build local communities in developing nations throughout the Western

Hemisphere—a key effort to address the root causes of mass migration.

        3.      A Brookings Institution review notes that the Foundation “has safely and successfully

invested hundreds of millions of U.S. taxpayer dollars in local [nongovernmental organizations] since

1969,” and it “has a library of ex-post evaluations proving the lasting impact of its investments,” which

“are structured so they nearly always reflect local priorities and build from on-going locally rooted

efforts.”1 The Foundation’s success at combatting violence, creating economic opportunities, and

reducing migration have earned it longstanding, broad bipartisan support. Congress has maintained

and, over time, increased the Foundation’s funding regardless which political party controls each of

its chambers.

        4.      Notwithstanding these laudable achievements, the Trump Administration—which

purports to be laser-focused on reducing migration across the southern border—has moved swiftly

to dismantle the Foundation. First, President Trump issued an executive order declaring the

Foundation “unnecessary” and ordering it to “reduce the performance of [its] statutory functions and

associated personnel to the minimum presence and function required by law.” Next, Defendants

launched a full-scale hostile takeover of the agency, usurping the power of its bipartisan, presidentially

appointed and Senate-confirmed Board of Directors; purporting to fire its president and chief



1
  George Ingram, Brookings Inst., Locally Driven Development: Overcoming the Obstacles 34 (2022),
https://www.brookings.edu/wp-content/uploads/2022/05/Locally-Driven-Development.pdf.
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executive officer; shuttering its website; cancelling its contracts and grants; placing all of its employees

on administrative leave and slating them for termination within 30 days; and purporting to install

Defendant Peter Marocco as the Acting Chair of the Foundation’s Board of Directors and President.

These actions have caused chaos for the Foundation’s employees, contractors, and grantees who

depend on a reliable flow of funding from the Foundation.

        5.      Defendants lack any lawful authority to abolish by executive fiat an agency created by

Congress. Defendants likewise lack authority to impound funds Congress appropriated and directed

the Foundation spend to carry out its mission. Defendants’ actions flout the separation of powers and

violate numerous provisions of the U.S. Constitution, including the Appropriations Clause, the

Spending Clause, the Presentment Clause, and the Take Care Clause. The purported appointment of

Marocco as Acting Chair of the Board also violates the Federal Vacancies Reform Act of 1998, or, in

the alternative, the Appointments Clause. And Defendants’ decisions constitute arbitrary and

capricious agency action, and agency action unlawfully withheld, in violation of the Administrative

Procedure Act. Defendants’ unlawful and unconstitutional actions pose a grave threat to Plaintiffs—

grantees who depend on the Foundation’s funding to conduct important community-led development

work in numerous nations—and to the community members that rely on Plaintiffs’ projects. Absent

prompt intervention from this Court halting Defendants’ continuing disregard for the rule of law,

Plaintiffs and their local constituents will continue to suffer ongoing, irreparable harm.

                                  JURISDICTION AND VENUE

        6.      The Court has jurisdiction under the United States Constitution and 28 U.S.C.

§§ 1331 and 1346.

        7.      Venue is proper in this district under 28 U.S.C. § 1391(e) because all Defendants

reside in this district and a substantial part of the events or omissions giving rise to this action

occurred in this district.

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                                               PARTIES

        8.      Plaintiff Cristosal Human Rights is a human rights organization that operates in El

Salvador, Guatemala, and Honduras, and is associated with the Episcopal Church. Cristosal’s primary

mission is to address internal displacement driven by criminal gangs, threats, extortions, and

assassinations. Cristosal works to counteract these forces through a variety of means, such as providing

victims of human rights violations with legal and mental health services and emergency shelter, food,

and financial assistance. It also trains individuals and local leaders on how to advocate for policies and

laws that protect their rights and prevent future displacement. Cristosal has worked closely with the

Foundation since 2020. The initial term of its grant agreement provided Cristosal with $290,000 over

two years. Cristosal and the Foundation subsequently agreed to several amendments, increasing the

total grant amount to $540,000 and extending the grant period through September 18, 2025.

        9.      Plaintiff Corpocaminos is the first community-led technical college in southwest

Colombia. Colombia’s Ministry of Education accredited it in 2019. Corpocaminos’s mission is to

expand access to higher education in the region, especially for young people and the rural poor. It

provides comprehensive technical and professional training in fields such as agriculture and tourism

to populations that would otherwise have few economic options available. Corpocaminos first began

working with the Foundation in 2020, with which agreed to provide a total of $544,012 to

Corpocaminos between 2020 and 2026.

        10.     Plaintiff Acción Cultural Popular Hondureña (ACPH) is a Honduran non-

governmental organization dedicated to improving living conditions in that country. It invests in

community-health initiatives, finds job opportunities for women and youth, and responds to natural

disasters. It began working with the Foundation in 2020 on two projects set to run through 2026. The

first provides technical training to unemployed youth. Under that program, students receive 500 hours

of training over a six-month period. ACPH then helps them obtain internships with local companies.

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The program has trained nearly 500 young people and over 100 adults. The Foundation committed

$564,000 to this program. The second program focuses on helping hurricane and flood victims who

live near the Ulúa and Chamelecón rivers. Under this program, ACPH distributes emergency supplies

in the immediate aftermath of these natural disasters, and mental-health and other services over the

longer term. This program has benefitted 20 communities and led to the establishment of five

collection centers outfitted with rescue boats and emergency materials. It has directly benefited 400

people and indirectly benefitted another 30,000. The Foundation committed $255,000 to this project.

        11.     Plaintiff Asociación Las Pregoneras is a Peruvian organization dedicated to supporting

victims of domestic violence and violence in schools. It does so by collaborating with local

governments and police on violence prevention campaigns. It also provides mental-healthcare services

to women and children victims of domestic violence. Among other things, Pregoneras goes door-to-

door with community leaders and the Peruvian National Police to offer families guidance on how to

report acts of domestic violence. It also works with students, parents, and teachers to address physical,

psychological, and sexual violence in secondary schools. Pregoneras began working with the

Foundation in 2023, receiving a $125,000 grant that ran through January 2025. Those funds have been

used to educate 200 parents and teachers on how to identify and prevent violence in public schools.

They have also been used to provide almost 200 young people, including victims of domestic violence,

with problem-solving and conflict management skills and mental health services. Pregoneras’s work

has resulted in a 13-percent decrease in incidents of school violence. Students who took advantage of

its mental-health services saw their grades improve, and they were less likely to drop out of school.

        12.     Plaintiff Alternativas y Capacidades is an organization dedicated to strengthening civil

society in Mexico. It has worked with the Foundation since 2023, receiving a $363,290 grant to be

spent from April 2023 and April 2026. The grant has funded Alternativas’s Social Laboratory for

Youth-led Initiatives (“Social Lab”) program, based in the Yucatán Peninsula. Youth migration from

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the Yucatán is especially high, as there are few economic opportunities. For many young people—

especially young men—migration is seen as the only pathway to financial stability. The Social Lab

program responds to these challenges by providing training in civic engagement, which in turn helps

participants invest in their communities. Forty young people have already completed the Social Lab

program, and another 40 are currently enrolled. Through the Social Lab program, Alternativas also

recently awarded 10 seed grants of $2,500 each to young people to let them start their own community-

involvement projects, and was planning to award an additional 10 seed grants in the near future.

       13.     Plaintiff Fundación Renace is a Bolivian organization dedicated to promoting local

farming by providing technical assistance to local communities. It works to improve production and

marketing of local products and services. Among other things, Fundación Renace has used

Foundation funds to train local business owners on business management techniques and production

processes; how to obtain necessary legal documentation for businesses to compete in the marketplace;

how to market their products; and how to bid on government contracts. The Foundation committed

$572,630 to Fundación Renace to be disbursed between September 9, 2017, and September 9, 2025.

       14.     Plaintiff Sociedad Cooperativa de las Mujeres Rurales de la Frontera Sur is a savings

and loan cooperative that works to improve access to credit for rural women in southern Mexico. It

received a $237,780 grant that began in 2024 and was set to run through 2027. Among other things,

it has used those funds to strengthen and expand the reach of its savings-and-loan programs and to

increase the financial literacy of women in the community.

       15.     Plaintiff Fundación Escuela de Integración, Formación Deportiva, Expresión Artística

y Desarrollo Laboral (EIFODEC) is a private, non-profit school located in Bolivia. Its mission is to

improve the quality of life of children and young adults with disabilities. It has worked with the

Foundation since 2023, receiving a $265,000 grant. Those funds have been used for EIFODEC’s

Building an Inclusive World Project, allowing 120 children and youth with disabilities to attend

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EIFODEC and learn daily life skills. Thirty-three of them have received occupational training, and

under the program 23 were scheduled to receive seed capital for their own economic enterprises.

EIFODEC has also supported 246 families of people with disabilities, training them on how to care

for, and support the independence of, their loved ones.

        16.      Plaintiff Asociación Instituto Salvadoreño de Educación Cooperativa y Agricultura

Orgánica (ISEAC) is an organization that works in six rural communities in the department of

Ahuachapán, El Salvador—an area impacted by drought and food insecurity. Its mission is to

strengthen local agricultural practices, including by increasing crop diversification and organic

production. ISEAC began working with the Foundation in 2021, receiving a total of $280,000 between

2021 and 2024. In 2024, it applied for and was awarded an additional $242,700, extending the grant

through October 2026. It has used those funds to aid small farmers, teaching them farm-management

techniques that will allow their land to be more productive in the long run. Under the grant, it has

worked directly with 245 families, teaching them how to use the ancestral milpa system—a traditional

Mesoamerican agricultural practice where crops are mixed in the same field, creating a sustainable and

diverse food system.

        17.      Defendant Peter Marocco is the Acting Deputy Administrator for Policy and Planning

and for Management and Resources for the U.S. Agency for International Development (“USAID”)

and Director of Foreign Assistance at the Department of State. Marocco also claims to be Chair of

the Board of the Foundation, but his appointment to that position was ultra vires and thus without

effect. He is sued in his official capacity.

        18.      Defendant Dominic Bumbaca claims to be the President of the Foundation, but his

appointment to that position was ultra vires and thus without effect. He is sued in his official capacity.

        19.      Defendant Sergio Gor is the Director of the White House Presidential Personnel

Office. He is sued in his official capacity.

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         20.          Defendant U.S. DOGE Service is an entity that was created within the Executive

Office of the President by Executive Order 14158.

         21.          Defendant U.S. DOGE Service Temporary Organization is an entity that was created

within the Executive Office of the President by Executive Order 14158.

         22.          Defendant Amy Gleason is the Acting Administrator of both the U.S. DOGE Service

and U.S. DOGE Service Temporary Organization. She is sued in her official capacity.

         23.          Defendant Donald J. Trump is the President of the United States. He is sued in his

official capacity.

         24.          Defendant Department of the Treasury is a Cabinet-level agency of the U.S.

government. It is headquartered in Washington, D.C.

         25.          Defendant Scott Bessent is the Secretary of the Treasury and is sued in his official

capacity.

                                          LEGAL BACKGROUND

                                        Congress’s Power of the Purse

         26.          The framers of the U.S. Constitution intended Congress to exercise plenary power

over federal spending: Its “power over the purse may, in fact, be regarded as the most complete and

effectual weapon with which any constitution can arm the immediate representatives of the people,

for obtaining a redress of every grievance, and for carrying into effect every just and salutary measure.”

The Federalist No. 58, at 359 (James Madison) (Clinton Rossiter ed., 1961).

         27.          To effectuate congressional control over federal spending, the Constitution’s Spending

Clause provides: “The Congress shall have Power To lay and collect Taxes, Duties, Imposts and

Excises, to pay the Debts and provide for the common Defence and general Welfare of the United

States; but all Duties, Imposts and Excises shall be uniform throughout the United States.” U.S. Const.

art. I, § 8, cl. 1.

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        28.     Relatedly, the Appropriations Clause states: “No Money shall be drawn from the

Treasury, but in Consequence of Appropriations made by Law.” U.S. Const. art. I, § 9, cl. 7.

        29.     The Spending and Appropriations Clauses, among other provisions, operate together

to grant Congress exclusive power over the federal purse, including the authority to attach conditions

to the use of federal funds.

        30.     The President lacks discretion to refuse to spend appropriated funds for the purposes

and projects Congress has directed. The Constitution imposes on the President a duty to “take Care

that the Laws be faithfully executed.” U.S. Const. art. II, § 3. This clause prohibits the executive from

disregarding duly enacted laws.

        31.     Congress also has acted specifically to protect its constitutionally derived authority to

control federal spending by enacting the Congressional Budget and Impoundment Control Act of

1974 (“Impoundment Act”), Pub. L. No. 93-344, Tit. X, 88 Stat. 297. The Impoundment Act confirms

that the President lacks power to unilaterally refuse to spend congressionally appropriated funds. The

President may propose rescission of “all or part of any budget authority,” but—unless Congress

“complete[s] action on a rescission bill rescinding all or part of the amount proposed” within 45 days,

the funds “shall be made available for obligation.” 2 U.S.C. § 683(a), (b).

        32.     Congress’s intent in passing the Impoundment Act could not be more clear. “No

matter how prudently Congress discharges its appropriations responsibility, legislative decisions have

no meaning if they can be unilaterally abrogated by executive impoundments.” H.R. Rep. No. 93-658,

at 16 (1973). Neither “the President [nor] federal agencies may [] ignore statutory mandates or

prohibitions merely because of policy disagreement with Congress.” In re Aiken Cnty., 725 F.3d 255,

260-61 (D.C. Cir. 2013). “[T]he President’s duty to enforce the laws necessarily extends to

appropriations … meaning that failure to act may be an abdication of the President’s constitutional

role.” City and Cnty. of San Francisco v. Trump, 897 F.3d 1225, 1234 (9th Cir. 2018).

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        33.     The Anti-Deficiency Act, Pub. L. No. 97-258, 96 Stat. 877 (1982), imposes similar

restrictions. Government officials violate that statute if they establish a reserve by withholding

appropriated funds from a congressionally assigned program, except for certain limited exceptions.

See 31 U.S.C. §§ 1301(a), 1512(c)(1). In apportioning or reapportioning an appropriation, “a reserve

may be established only—(A) to provide for contingencies; (B) to achieve savings made possible by

or through changes in requirements or greater efficiency of operations; or (C) as specifically provided

by law.” Id. § 1512(c)(1). Funds appropriated by Congress may not be placed in a reserve for any other

purpose.

                   The President’s Limited Power to Appoint Acting Officers

        34.     The Federal Vacancies Reform Act is the “exclusive means for temporarily authorizing

an acting official to perform the functions of an Executive agency … for which appointment is

required by the President, by and with the advice and consent of the Senate,” with only certain, limited

exceptions. 5 U.S.C. § 3347(a). The Act provides that it “shall not apply” to members appointed by

the President, by and with the advice and consent of the Senate, to a multi-member board of an

independent establishment or government corporation. Id. § 3349c. Unless an acting appointment is

made consistent with its provisions, an office “shall remain vacant,” id. § 3348(b)(1), and actions taken

by an individual purporting to serve in an acting capacity, but whose service does not comply with the

Act, shall have “no force and effect,” id. § 3348(d)(1).

        35.     Absent congressional authorization, the Appointments Clause bars the President from

appointing acting officers. That Clause requires the President to obtain “the Advice and Consent of

the Senate” before appointing principal “Officers of the United States,” U.S. Const. art II, § 2, cl. 2.

It makes no provision for service in an acting capacity. Any other understanding of the Clause would

deprive Congress of one of the most “critical structural safeguard[s] of the constitutional scheme.”

NLRB v. Sw. Gen. Inc., 580 U.S. 288, 293 (2017) (cleaned up).

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                                The Inter-American Foundation Act

        36.     Congress created the Foundation in 1969 as a unique U.S. foreign assistance program

supporting social and economic development in Latin America and the Caribbean. The Foundation’s

organic statute confirms that its activities are to be carried out “primarily in cooperation with private,

regional, and international organizations.” 22 U.S.C. § 290f(b).

        37.     The Foundation exists as a “body corporate,” id. § 290f(a), to carry out its legislatively

directed purposes “to (1) strengthen the bonds of friendship and understanding among the peoples

of this hemisphere; (2) support self-help efforts designed to enlarge the opportunities for individual

development; (3) stimulate and assist effective and ever wider participation of the people in the

development process; [and] (4) encourage the establishment and growth of democratic institutions,

private and governmental, appropriate to the requirements of the individual sovereign nations of this

hemisphere.” Id. § 290f(b). Congress further directed the Foundation to “place primary emphasis” on

education, food security, agricultural development, and environmental conditions promoting health,

housing, free trade unions, “and other social and economic needs of the people.” Id.

        38.     Congress instructed the Foundation to carry out its purposes by working primarily

with nongovernmental organizations, including “private organizations, individuals, and international

organizations … undertaking or sponsoring appropriate research and by planning, initiating, assisting,

financing, administering, and executing programs and projects designed to promote the achievement

of such purposes.” Id. § 290f(c).

        39.     Congress took steps to ensure the Foundation’s ability to function flexibly and

independently to achieve its mission.

        40.     Of particular importance, Congress affirmed that “[t]he Foundation … shall have

perpetual succession unless sooner dissolved by an Act of Congress.” Id. § 290f(e)(1).




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        41.     The Foundation has authority to hire “and fix the compensation of” up to 100

employees. Id. § 290f(e)(5). It also enjoys broad authority to purchase, acquire, accept as a gift, lease,

or otherwise hold real and personal property, domestic or abroad, and to “in any manner dispose of

all such” property and use the proceeds as general funds for its mission. Id. § 290f(e)(6).

        42.     The Foundation possesses an unusual gift authority that allows it to directly receive

tax-deductible funds from the private sector—i.e., from charitable foundations or other sources—and

pool that money with its own appropriations when funding projects. Specifically, the Foundation “may

accept money, funds, property, and services of every kind by gift, devi[s]e, bequest, grant, or otherwise,

and make advances, grants, and loans to any individual, corporation, or other body of persons, whether

within or without the United States of America, or to any government or governmental agency,

domestic or foreign, when deemed advisable by the Foundation in furtherance of its purposes.” Id.

§ 290f(e)(9).

        43.     Congress also granted the Foundation “such other powers as may be necessary and

incident to carrying out its powers and duties.” Id. § 290f(e)(11).

        44.     Governance of the Board is entrusted to a nine-member Board of Directors (“Board”),

members of which are chosen by the President and subject to Senate confirmation. Id. § 290f(g). Board

members serve staggered six-year terms, but are eligible to remain in office if a replacement has not

been confirmed at the expiration of their term. Congress specified that the Board come from a mix

of “private life” and officers or employees of certain public agencies, that its membership be balanced

between the political parties, and that “individuals appointed to the Board shall possess an

understanding of and sensitivity to community level development processes.” Id. The duly appointed

“Board shall direct the exercise of all the powers of the Foundation.” Id. § 290f(i).




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         45.       Administration of the Foundation is entrusted to a president and chief executive

officer “who shall be appointed by the Board of Directors on such terms as the Board” determines.

Id. § 290f(l).

         46.     In 2024, Congress appropriated $47 million “[f]or necessary expenses to carry out the

functions of the Inter-American Foundation.” Further Consolidated Appropriations Act, 2024, Pub.

L. No. 118-47, Div. F, tit. III, 138 Stat. 460, 746 (2024). These funds are “to remain available until

September 30, 2025.” Id. Congress reaffirmed its commitment to the Foundation by providing it with

the same level of funding in a continuing resolution that became law on March 15, 2025. See Full-Year

Continuing Appropriations and Extensions Act, 2025, Pub. L. No. 119-4, § 1101(a)(11) (2025).

         47.     Congress exercised its power to create a strong presumption against administrative

actions that would fundamentally alter the Foundation. Specifically, the Foundation is included among

foreign-aid agencies that Congress prohibited from using any of its funding to “implement a

reorganization, redesign, or other plan” that would “expand, eliminate, consolidate, or downsize

covered departments, agencies, or organizations, including the transfer to other agencies of the

authorities and responsibilities of such bureaus and offices,” unless the agency first consults with the

Appropriations Committee in each chamber and “include[s] a detailed justification.” Pub. L. No. 118-

47, Div. F, tit. III, § 7063(a), (b)(1), 138 Stat. at 843-44.

                                      FACTUAL ALLEGATIONS

                                           The Executive Order

         48.     On February 19, 2025, President Trump signed an executive order with the purpose

“to dramatically reduce the size of the Federal Government” by “commenc[ing] a reduction in the

elements of the Federal bureaucracy that the President has determined are unnecessary.” Exec. Order

No. 14217, Commencing the Reduction of the Federal Bureaucracy (“Dismantling EO”), 90 Fed. Reg. 10577

(Feb. 19, 2025).

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        49.     The Dismantling EO targets four independent agencies, including the Foundation. It

provides that all “non-statutory components and functions of the” targeted agencies “shall be

eliminated to the maximum extent consistent with applicable law, and such entities shall reduce the

performance of their statutory functions and associated personnel to the minimum presence required

by law.” Id. It also directs the “head of each unnecessary governmental entity” to submit a report to

the Director of the Office and Management and Budget (“OMB”) “confirming compliance” and

indicating whether any of its components or functions are statutorily mandated. Id.

        50.     The Dismantling EO further directs the OMB Director, “to the extent consistent with

applicable law,” to reject funding requests from the “unnecessary” agencies “to the extent they are

inconsistent with this order.” Id.

                       Unlawful Actions Taken to Shutter the Foundation

        51.     DOGE acted swiftly to decimate the Foundation.

        52.     The day after President Trump signed the Dismantling EO, two U.S. DOGE Service

representatives in their twenties, with no prior government experience—Ethan Shaotran and Nate

Cavanaugh—appeared at the Foundation’s offices. The Foundation’s duly appointed President, Sara

Aviel, and other members of leadership met with the DOGE representatives, who falsely asserted that

their intent was to help improve the Foundation’s technology and systems.

        53.     Aviel and her team were aware of the Dismantling EO but were operating under the

reasonable assumption that a rational, legal process would control DOGE’s actions. Foundation

leadership both intended and attempted to work with DOGE to demonstrate that the Foundation

had cut costs and was an efficient and successful agency. Neither Aviel nor other members of her

leadership team had any inkling that DOGE intended to shut the Foundation down without a

comprehensive review.




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        54.     Shaotran and Cavanaugh returned the following day, February 21, 2025, with another

DOGE representative, a lawyer named Jacob Altik. Altik claimed to have reviewed the Foundation’s

organic statute and determined that its minimum statutory presence required only the existence of a

Board, a president/CEO, an office in Washington, D.C., and the existence of one or two grants. The

DOGE representatives demanded that Aviel sign on to their interpretation of the Foundation’s

minimum statutory presence.

        55.     On a follow-up call the following Monday, February 24, DOGE pressed Foundation

leadership to sign memoranda of understanding with the General Services Administration—the

federal agency whose authority DOGE agents represented themselves as exercising—granting

Shaotran and Cavanaugh full access to Foundation systems under the guise of technical support.

        56.     Foundation leadership declined this offer, explaining that the Foundation did not need

help with technology, but Shaotran, Cavanaugh, and Altik began to issue ultimatums if leadership did

not cooperate with their attempt to gain unfettered access to the Foundation’s computer systems.

        57.     The DOGE representatives also pressed Aviel to call an immediate, Friday afternoon

Board meeting to secure the Board’s alignment with DOGE’s statutory interpretation of the

Foundation’s minimum presence.

        58.     Aviel pushed back, stating that it would be very difficult, if not impossible, to convene

a Board meeting without more notice. Even apart from Board members’ personal schedules, Aviel

noted, there are legal requirements that govern Board meetings. The Government in Sunshine Act

applies to the Foundation’s Board meetings and commands that “every portion of every meeting of

an agency [covered by the Act] shall be open to public observation,” 5 U.S.C. § 552b(b), unless one

of several narrow exceptions applies. It also requires the Board to publish in the Federal Register at least

a week in advance the time, place, and subject matter of its meetings, whether the meeting will be




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open to the public, and the contact information for an employee who can provide the public additional

information about the meeting. Id. § 522b(e).

        59.     DOGE representatives responded that they did not need an official, legally compliant

Board meeting to take place—they simply needed an immediate answer from the Board members as

to whether they would ratify DOGE’s statutory interpretation and intended gutting of the agency.

DOGE further indicated an intent to terminate the Board if it refused to ratify DOGE’s actions.

        60.     Shortly after this meeting, Aviel was contacted by congressional stakeholders from

both parties and both chambers urging the Foundation to resist DOGE’s efforts to dismantle the

agency. These stakeholders noted that any efforts to reduce the Foundation’s functions would be

inconsistent with the fact that Congress had forbid it from reorganizing, eliminating functions, or

downsizing without first notifying Congressional appropriations committees and providing a detailed

justification for such actions. See supra ¶ 47.

        61.     Aviel asked DOGE for a written explanation of DOGE’s assessment that the

Foundation’s minimum statutory presence consisted of only a Board, a president, a D.C. office, and

one or two grants. Cavanaugh responded with an email, sent from a GSA email address and copying

Altik, containing six bullet points—each of which contained a copied-and-pasted provision from the

Foundation’s organic statute in which Congress used the word “shall.”

        62.     Separately, DOGE reached out to one of four duly appointed and Senate-confirmed

members of the Foundation’s Board, Lou Viada, whom DOGE apparently believed, based solely on

DOGE’s perceptions of Viada’s political leanings, would be sympathetic to its cause. Altik, the DOGE

lawyer, called Viada and said he wanted to check whether Viada was “aligned” with the Dismantling

EO and the planned reduction of the Foundation’s staff.

        63.     Viada responded that he was aligned with the notion of analyzing efficiency, saving

money, and eliminating fraud—which he understood to be DOGE’s mission—believing that DOGE

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was functioning as a consulting group that would work with Foundation staff to analyze and provide

recommendations on individual programs. As so stated, Viada indicated alignment with that mission.

       64.     Altik told Viada that Viada was the only remaining active Board member and that his

three colleagues had been fired. Viada asked if the other Board members had received notification of

their termination; Altik acknowledged that the other Board members had yet to receive notice of their

alleged termination. He further indicated that DOGE wanted Viada to sign some papers and help

DOGE execute its process to dismantle the Foundation.

       65.      Viada then contacted the other Board members and confirmed that they had not

received notices of termination. As it became clear that DOGE desired a more-legitimate-seeming

entry point to have an existing Board member ratify their planned elimination of the Foundation,

Viada told Altik that he would decline to assist those efforts and preferred to work with his Board

colleagues. Altik told Viada that he could choose between being fired alongside his colleagues or he

could resign if he was unwilling to do as DOGE demanded. Viada refused to resign.

       66.     On February 26, Viada received an email from Trent Morse, Deputy Director of the

Presidential Personnel Office, stating that he had been terminated. The other three Board members

never received any notice of their termination. As of the date of filing this action, the other Board

members are uncertain whether Defendants attempted to send them a notice of termination to their

Foundation email accounts (to which they no longer have access).

       67.     That same day, Morse sent Aviel a one-line email asserting that she had been fired

from her position as President and CEO of the Foundation.

       68.     Then on February 28, Morse sent an email to Foundation leadership stating that all

members of the Board had been fired and that President Trump had designated Defendant Peter

Marocco to be Acting Chair of the Foundation’s Board. The email acknowledged that the President

does not have statutory authority under either the Foundation’s organic statute or the Federal

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Vacancies Reform Act of 1998, 5 U.S.C. §§ 3345–3349, to appoint acting board members, but

nonetheless asserted that President Trump was exercising inherent authority.

         69.    On Friday, February 28, Marocco purported to hold an “emergency closed session of

the board of directors … to discuss personnel issues.” 90 Fed. Reg. 11546 (Feb. 28, 2025). Shaotran

and Cavanaugh were present for this meeting. The “transcript” of this meeting—the substance of

which spans only about a dozen lines of informal notes—reveals that Marocco claimed that “there’s

no time to give public notice of 1 week, pursuant to” the Sunshine Act, because “President Trump’s

EO says this agency needs to be reduced to statutory minimum (and we need to send a report to

OMB).”2 Marocco then claimed “a majority of the board” (meaning only himself) voted to hold the

meeting immediately, despite the fact that it was minutes before 5 p.m. on a Friday and “no one is

here to let me in” to Foundation offices, and that the General Counsel had not certified that the

meeting could be closed to the public as required by 22 C.F.R. § 1004.6(d). Id. Marocco claimed that

the meeting could nonetheless be closed because it “relate[d] solely to the personnel rules and practices

of the agency.” Id. Finally, as “Chairman and only member of the board,” Marocco “designat[ed]

[himself] as the acting CEO and President” of the Foundation, and also apparently took some other

action that is redacted in the document attached to the Federal Register notice. Id.

         70.    Prior to her termination, Aviel had received notice through another member of the

Foundation leadership team that the Treasury Department planned unilaterally to cancel the

Foundation’s contracts by close of business on February 27. Aviel and her staff had pushed back with

a detailed response, asserting that (among other reasons) Treasury functioned as the Foundation’s

bank, essentially conducting administrative-payment functions, and lacked any authority over the

Foundation’s congressionally appropriated funding or its contracts.




2
    https://drive.google.com/file/d/1opNCP4BHPx1oqFl1i8jbnMV4HinyYVvt/view.
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        71.     After Aviel was fired, DOGE representatives found a backdoor method to effectuate

these actions. The Foundation’s contracts long had been processed and paid through the

Administrative Resource Center (ARC), run by the Treasury Department’s Bureau of Fiscal Service.

Under the direction of Marocco, purporting to be the Foundation’s President, DOGE accessed ARC

and acted unilaterally to cancel virtually all of the Foundation’s contracts.

        72.     DOGE then used the Foundation’s own system to send termination communications

on March 4 to all of the Foundation’s active grantees, with the exception of a single grant.

        73.     DOGE unlawfully canceled roughly 400 active grants in 27 countries, each of which

was focused on promoting economic prosperity, advancing democratic governance, and/or fostering

peace and security.

        74.     DOGE also locked the majority of Foundation employees out of their IT systems and

emails at the end of the day on March 3 and shuttered the agency’s public-facing website.

        75.     DOGE then placed nearly all of the Foundation’s employees on administrative leave

on that same day, March 3. The following day, the employees were given notice that they are subject

to a widescale Reduction in Force that DOGE intends to use to terminate all, or nearly all, of the

Foundation’s roughly three-dozen employees. On information and belief, all but two or three

Foundation employees will be terminated effective April 4. This means that, instead of the 60 days’

notice normally given under Office of Personnel Management regulations, see 5 C.F.R. § 351.801(a),

Foundation employees were given only 30 days’ notice.

        76.     Marocco subsequently purported to install Dominic Bumbaca as President of the

Foundation, effective March 7, 2025.

        77.     These collective actions have effectively dismantled the Foundation, which, in all

relevant respects, no longer is operating as Congress directed. In particular, the Foundation has tens




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of millions of dollars in congressionally appropriated funds that Defendants’ actions have prevented

the agency from spending to fulfill its legislatively directed mission.

                                      HARMS TO GRANTEES

        78.     On March 4, 2025, each Plaintiff received a materially identical letter from Marocco

informing them that their Foundation grants had been canceled. The letter informed Plaintiffs that

their grants were “inconsistent with the agency’s priorities.” It further stated that the “President’s

February 19, 2025 executive order mandates that the [Foundation] eliminate all non-statutorily

required activities and functions.” It did not provide any other explanation. The letter also instructed

Plaintiffs to send any remaining “unspent funds to the IAF, in accordance with the termination clause

and local law, within fifteen (15) days or as soon as practicable.”

        79.     The immediate, sudden cancelation of these grants has caused Plaintiffs grave harm.

For example, Plaintiff Cristosal is owed more than $120,000 under the terms of its grant with the

Foundation, and has already diverted more than $70,000 from other sources to cover expenses

incurred. As a result of the termination, Cristosal will be unable to continue providing essential legal,

humanitarian, and mental health services to 372 individuals. Cristosal will also be forced to halt a

project designed to document patterns of forced displacement, information critical to its efforts to

support national governments in fulfilling their obligations to protect citizens who are victims of

human rights abuses in El Salvador, Guatemala, and Honduras. The termination of these funds will

hamper Cristosal’s ability to address the root causes of migration from the countries in which it

operates.

        80.     Plaintiff Corpocaminos faces a similar threat. Corpocaminos is owed $116,247 under

the terms of its grant. Without Foundation funds, there is a material risk that Colombia’s Ministry of

Education will revoke Corpocaminos’s accreditation, leading to the college’s dissolution. Colombian




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law requires newly established institutes like Corpocaminos to derive a portion of their funds from

sources other than tuition. Corpocaminos had been using its Foundation grant for that purpose.

        81.    Plaintiff ACPH is owed $114,930 under the terms of its grant. The loss of these funds

will have a devasting impact on ACPH’s ability to operate. It has already been forced to dismiss key

personnel without notice, which exposes ACPH to liability under local labor laws. It will no longer be

able to offer training services to young people, leaving them without alternatives to learn job skills.

That, in turn, could lead to an increase in migration out of Honduras. ACPH’s ability to respond to

floods with emergency supplies and care will also be significantly hampered.

        82.    At the time plaintiff Asociación Las Pregoneras received the March 4 letter, it was in

the midst of negotiating a $267,000 agreement with the Foundation as a follow-on to its 2023 grant.

The only step remaining was for the Foundation’s President to approve the agreement. Without these

funds, Pregoneras will no longer be able to provide services to women and children at risk of violence.

These populations face especially acute risks in the country where Preogoneras operates: in 2021, the

Peruvian National Police registered more than 240,000 cases of domestic violence nationwide, and in

2023, there were approximately 12,000 cases of school violence. The end of Pregoneras’s services

increases the likelihood that women and children will flee Peru for the United States, as victims of

domestic violence, sexual violence, and trafficking in Latin America often seek refuge in other

countries.

        83.    Plaintiff Alternativas y Capacidades is owed $43,000 under the terms of its grant.

Without those funds, it will have to suspend its Social Laboratory for Youth-Led Initiative, directly

affecting 40 youth leaders enrolled in that program. It will also be unable to issue an additional ten

seed grants of $2,500 each, which would have been used by recipients to start community impact

projects.




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        84.     Plaintiff Fundación Renace is owed $9,336 under the terms of its grant. At the time

the funds were terminated, Fundación Renace was working with a business association to prepare

three bids for government contracts, under which the businesses would have made $26,000 from

selling bananas and $90,300 from selling processed banana products. The loss of these contracts

affects 200 families that produce the bananas; and an additional 60 individuals who process them into

banana flour and other products. In addition, Fundación Renace was in the midst of helping three

organizations prepare to respond to a government contract set to open in April. Absent the grant

funds it is owed, Fundación Renace will be unable to continue providing that assistance.

        85.     Plaintiff Sociedad Cooperativa Las Mujeres Rurales de la Frontera Sur has received

only $12,600 of the $237,780 owed to it under the terms of its grant. As a result of the termination of

funds, it has had to lay off seven employees. In additional, Las Mujeres Rurales intended to provide

loans and seed capital to about 600 women to expand their businesses, and it will no longer be able to

offer that financing. Finally, Las Mujeres Rurales intended to provide funds for infrastructure updates

to a community center used by over 300 children. That project, too, will now be impossible.

        86.     Plaintiff EIFODEC is owed $121,750 under the terms of its grant. As a result of the

loss of funding, it will no longer be able to train 120 disabled youth that it is currently educating. Nor

will it be able to give 23 of those individuals seed funds to start their own businesses. It will no longer

be able to provide support to families of those with disabilities. And it will have to lay off about ten

staff members, leaving them without work at a time of economic hardship in Bolivia. The

Foundation’s lack of support will severely impair EIFODEC’s ability to serve its intended population,

and unless it is able to secure additional funds, it may consider closing.

        87.     Plaintiff ISEAC is owed $187,700 under the terms of its grant. Without these funds,

it will be unable to continue working with small farmers to move away from farming techniques that

involve monocropping and the use of pesticides. This will reduce the capacity of the land to produce

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food in a sustainable way—which will hamper the ability of families to sustain themselves and earn

income. The sudden termination of ISEAC’s grant will therefore exacerbate food insecurity in the

area, and could therefore lead to economic instability for rural communities and greater migration out

of El Salvador.

        88.       Each Plaintiff also faces significant non-monetary harm from the termination of their

relationship with the Foundation. Several were planning to participate in Foundation-sponsored

exchanges, which would have allowed them to learn best practices related to their fields from other

organizations in Latin America. Foundation liaisons have also provided each Plaintiff important

support throughout the life of each grant. They connect Plaintiffs to other resources and

organizations, and provide organizational and administrative troubleshooting support. In addition,

monitoring and evaluation specialists from the Foundation visit each Plaintiff regularly. Those

specialists provide technical support and advice, and have helped Plaintiffs improve their monitoring

systems and strategies. Auditors contracted by the Foundation have also provided Plaintiffs with

assistance related to accounting, documentation, and complying with relevant laws. These services

have been critical to Plaintiffs’ growth and have enabled them to access additional funding from other

sources.

        89.       Other grantees have suffered similar harms. According to an informal poll of 148

grantees (about 35 percent of all Foundation grantees) conducted over the last several weeks, more

than 60 percent are at risk of closure due to the cancellation of Foundation funds. On average,

Foundation funds make up 65.5 percent of these grantees’ budgets. For 44 percent of respondents,

Foundation funds account for at least 70 percent of their budget. Collectively, these organizations will

lose more than $14 million in Foundation funds. The termination of Foundation funds also puts at

risk an additional $13.5 million that these organizations secured from other sources. And it will impact

more than 85,000 beneficiaries of just these 148 organizations. In addition, 14 grantees have already

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returned a total of $762,253.21 to the federal government pursuant to the March 4, 2025 letter (before

the federal government agreed to pause the requirement to return funds in a lawsuit challenging Aviel’s

dismissal). See Aviel v. Gor, No. 1:25-cv-778, Minute Entry for Status Conference & ECF No. 14-1

(D.D.C. Mar. 19, 2025).

                                        CAUSES OF ACTION

                                              Count I
                               Violation of the Separation of Powers

        90.     Plaintiffs restate and re-allege all preceding paragraphs as if fully set forth herein.

        91.     This Court has inherent equitable power to enjoin unconstitutional actions by the

Executive Branch. See Free Enter. Fund v. Pub. Co. Acct. Oversight Bd., 561 U.S. 477, 491 n.2 (2010).

        92.     Defendants’ actions to unilaterally impound the Foundation’s congressionally

appropriated funds exceeds the Executive Branch’s constitutional authority and aggrandizes power

over spending and appropriations that the Constitution vests in Congress.

        93.     The Appropriations Clause specifically states: “No Money shall be drawn from the

Treasury, but in Consequence of Appropriations made by Law.” U.S. Const. art. I, § 9, cl. 7.

Defendants lack authority to disregard or overrule Congress’s duly enacted appropriations by denying

the Foundation all access to its funding. In re Aiken Cnty., 725 F.3d 255, 260-61 (D.C. Cir. 2013).

        94.     According to the Spending Clause: “The Congress shall have Power To lay and collect

Taxes, Duties, Imposts and Excises, to pay the Debts and provide for the common Defence and

general Welfare of the United States.” U.S. Const. art. I, § 8, cl. 1. The Spending Clause grants

Congress the power to determine federal expenditures, including whether to attach any conditions to

federal funding.

        95.     Defendants’ decisions to impound the Foundation’s funding infringes Congress’s

exclusive power of the purse and exceeds executive authority.



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        96.     The Presentment Clause provides that: “Every Bill which shall have passed the House

of Representatives and the Senate, shall, before it become a Law, be presented to the President of the

United States; If he approve he shall sign it, but if not he shall return it.” U.S. Const. art. I, § 7, cl. 2.

The President has no authority to alter duly enacted legislation—his power is limited to approving or

rejecting in full legislation presented to him. Clinton v. City of New York, 524 U.S. 417, 439-40 (1998).

Both the Foundation’s organic statute and the relevant appropriations bills are validly enacted laws

that the President has no power to ignore, amend, modify, or partially veto.

        97.     The Take Care Clause obligates the President, and any subordinate officers to whom

he delegates duties, to “take Care that the Laws be faithfully executed.” U.S. Const. art. II, § 3.

        98.     Defendants lack any authority, under the Constitution or statute, to usurp legislative

power by functionally abolishing an agency created by Congress and that, as a matter of federal law,

“shall have perpetual succession unless sooner dissolved by an Act of Congress.” 22 U.S.C.

§ 290f(e)(1). Defendants’ decimation of the Foundation violates the Take Care Clause.

        99.     Defendants’ hostile takeover of the Foundation flouts our constitutional structure.

                                                 Count II
                                           Ultra Vires Actions

        100.    Plaintiffs restate and re-allege all preceding paragraphs as if fully set forth herein.

        101.    This Court has inherent equitable power to enjoin unconstitutional actions by the

Executive Branch. See Free Enter. Fund v. Pub. Co. Acct. Oversight Bd., 561 U.S. 477, 491 n.2 (2010).

        102.    No part of the U.S. Constitution, statute, or other source of law authorizes Defendants

to impound the Foundation’s funding. On the contrary, the Impoundment Act, the Anti-Deficiency

Act, the 2024 Further Consolidated Appropriations Act, and the 2025 Full-Year Continuing

Appropriations and Extensions Act obligate Defendants to allow the Foundation to access and

disburse its congressionally appropriated funding.

        103.    Defendants’ unlawful impoundment is ultra vires.
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        104.    In addition, the President lacks either statutory or inherent authority to invest Marocco

as sole Board member and Chair in an acting capacity, or otherwise to bypass the statutorily mandated

Senate confirmation process. Members of the Foundation’s Board must be appointed by the President

and confirmed by the Senate. 22 U.S.C. § 290f(g). Marocco has not been nominated by the President

nor confirmed by the Senate to the Foundation’s Board.

        105.    No provision of law authorizes the President to appoint an acting member of the

Foundation’s Board. On the contrary, the Federal Vacancies Reform Act prohibits the President from

installing members of the Board in an acting capacity. See 5 U.S.C. §§ 3348(b)(1), (d)(1), 3349c. And

even if Marocco’s appointment does not violate the Federal Vacancies Reform Act, it violates the

Appointments Clause. U.S. Const. art II, § 2, cl. 2. Marocco’s purported appointment to the Board is

thus ultra vires and without effect.

        106.    Because Marocco has not been validly installed as Board Chair of the Foundation,

actions he purported to take in that capacity are void ab initio. Most importantly, Marocco’s purported

self-designation as President and CEO of the Foundation is invalid—as are any actions he purported

to take as Foundation President. Illustratively, Marocco’s actions attempting to terminate Foundation

staff and fully shuttering the Foundation’s public-facing website are null and void.

        107.    Marocco (and DOGE acting in concert with him) also lacked authority to cancel the

Foundation’s grants and contracts. Any such cancellations or terminations are likewise null and void.

                                                Count III
                         Violation of the Administrative Procedure Act—706(2)(A)

        108.    Plaintiffs restate and re-allege all preceding paragraphs as if fully set forth herein.

        109.    The APA provides that a court “shall” “hold unlawful and set aside agency action”

found to be “arbitrary” or “capricious.” 5 U.S.C. § 706(2)(A).

        110.    Defendants’ impoundment of the Foundation’s congressionally appropriated funding,

 and related actions taken to deny the Foundation access to such funding, is final agency action, id.
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§ 704. “Agency action” encompasses an agency’s “denial” of “recognition” to a “claim” or “right”;

the “denial” of a “grant of money”; and the “failure to act” or “withholding” with respect to claims,

rights, and grants of money. Id. § 551(10), (11), (13).

       111.    Defendants’ decision to unilaterally cancel all of the Foundation’s grants and contracts

constitutes arbitrary and capricious agency action. To survive arbitrary-and-capricious review, an

agency must demonstrate that it “has reasonably considered the relevant issues and reasonably

explained its decision.” Fed. Commc’ns Comm’n v. Prometheus Radio Project, 592 U.S. 414, 423 (2021). An

agency must provide a “satisfactory explanation for its action[,] including a rational connection

between the facts found and the choice made.” Motor Vehicle Mfrs. Ass’n v. State Farm Mut. Auto Ins.

Co., 463 U.S. 29, 43 (1983) (quotation marks omitted). And the APA demands that, prior to upending

longstanding policies that have engendered reliance interests, agencies must acknowledge their

change in course and explain the reasons for doing so. Fed. Commc’ns Comm’n v. Fox Television, 556

U.S. 502, 515 (2009); U.S. Dep’t of Homeland Sec. v. Regents of the Univ. of California, 591 U.S. 1, 30–31

(2020).

       112.    Defendants made no attempt to comply with these minimum requirements when

terminating Plaintiffs’ grants (and all other Foundation grants, with the exception of a single award).

On information and belief, Defendants did not produce any contemporaneous memorandum or

other rationale for their decision to engage in the blanket cancellation of Foundation grants. Instead,

the only contemporaneous record Defendants have produced are letters to Plaintiffs stating the

unreasoned assertion that the Foundation’s grants suddenly were “inconsistent with the agency’s

priorities” and that the President had “mandate[d] that the [Foundation] eliminate all non-statutorily

required activities and functions.” See supra ¶ 77. This is the antithesis of a considered decision or a

rational explanation. The APA demands more.




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        113.     Defendants’ decision likewise failed to take into account the reliance interests of

 Plaintiff organizations or the communities they serve. Nor did they consider the impact on migration

 in the Western hemisphere that likely will result from the sudden cessation of longstanding programs

 and projects designed to ease the factors that cause people to migrate to the United States. These

 failures were arbitrary and capricious.

        114.     This Court should hold unlawful and set aside Defendants’ actions to withhold funds,

 and compel Defendants to otherwise make available the Foundation’s congressionally appropriated

 funding.

                      Violation of the Administrative Procedure Act—706(2)(A), (C)

        115.     Plaintiffs restate and re-allege all preceding paragraphs as if fully set forth herein.

        116.     The APA provides that a court “shall” “hold unlawful and set aside agency action”

found to be “not in accordance with law,” “in excess of statutory jurisdiction,” “or short of statutory

right.” 5 U.S.C. § 706(2)(A), (C).

        117.     Defendants’ blanket denial of funding is contrary to law and in excess of statutory

 authority because the Impoundment Act, the Anti-Deficiency Act, the 2024 Further Consolidated

 Appropriations Act, and the 2025 Full-Year Continuing Appropriations and Extensions Act all create

 a mandatory, nondiscretionary duty to make available and disburse the Foundation’s funds as needed

 for it to carry out its legislatively directed mission.

        118.     This Court should hold unlawful and set aside Defendants’ blanket denial of funding

 as contrary to law and in excess of statutory jurisdiction.

                             Violation of the Administrative Procedure Act—706(1)

        119.     Plaintiffs restate and re-allege all preceding paragraphs as if fully set forth herein.

        120.     The APA further provides that a reviewing court “shall” “compel agency action

 unlawfully withheld or unreasonably delayed.” 5 U.S.C. § 706(1).


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        121.    Defendant Department of the Treasury has a mandatory, nondiscretionary duty to

 disburse funds in its care upon a lawfully presented disbursement request from a Foundation

 employee with delegated authority. Treasury essentially acts as the Foundation’s “bank” and lacks

 authority to refuse payments or cancel its contracts.

        122.    Treasury has refused to fulfill that mandatory duty by impounding Foundation funds

 and unilaterally cancelling its contracts.

        123.    This Court should compel Defendant Department of the Treasury to fulfill its

 mandatory duty to disburse the Foundation’s funding and reinstate its contracts.

                                       PRAYER FOR RELIEF

        Plaintiffs respectfully request that this Court enter judgment in their favor and grant the

following relief:

        a.      A declaration that Peter Marocco’s purported appointment to the Foundation’s Board

                is ultra vires, without legal effect, and that any actions Marocco purported to take as

                Chairman of the Board are null and void, including his self-designation as President

                and CEO of the Foundation;

        b.      A declaration that Marocco lacked legal authority (and thus could not delegate such

                authority to DOGE) to cancel the Foundation’s contracts and grants and that those

                actions are thus void ab initio;

        c.      A declaration that the Executive Branch’s impoundment of the Foundation’s

                congressionally appropriated funds violates the Separation of Powers, intrudes on

                power constitutionally vested with the legislature, constitutes agency action not in

                accordance with law, contrary to constitutional right, and in excess of statutory

                authority, see 5 U.S.C. § 706(2)(A)-(C), and violates the Impoundment Control Act and

                the Anti-Deficiency Act;

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d.    A declaration that Marocco lacked legal authority (and thus could not delegate such

      authority to DOGE) to place Foundation employees on administrative leave and

      initiate a reduction in force as to Foundation employees, and such action is thus void

      ab initio;

e.    A preliminary and permanent injunction ordering Defendants to cease their unlawful

      impoundment of congressionally appropriated funds and otherwise to make available

      the Foundation’s appropriated funds;

f.    A preliminary and permanent injunction prohibiting Defendants from continuing to

      keep Foundation employees on administrative leave and from implementing the

      unlawful reduction in force of Foundation employees, and requiring Defendants to

      reinstate employees to the positions they held prior to Marocco’s unlawful actions;

g.    A preliminary and permanent injunction requiring Defendants to reinstate contracts

      and grants unlawfully canceled by Marocco or others acting in concert with him that

      were in effect as of February 28, 2025;

h.    A preliminary and permanent injunction requiring all Defendants to pay any grant

      funds unlawfully withheld since February 28, 2025, and to return any funds sent by

      grantees back to the federal government under the terms of the March 4 letter;

i.    A preliminary and permanent injunction prohibiting Defendant Peter Marocco, and

      any purported successors to him, including Defendant Dominic Bumbaca, from

      purporting to exercise the authority of the Inter-American Foundation Board or its

      President unless such successor shall be installed through the statutorily required

      process, 22 U.S.C. § 290f(g), (l).

j.    An award to Plaintiffs of reasonable costs and attorneys’ fees; and

k.    Such other and further relief that this Court may deem fit and proper.

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     March 21, 2025                                            Respectfully submitted,

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